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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No.: 5:20-02541 SB (ADS)                                   Date: October 25, 2021
Title: Rubio v. Diaz, et al.


Present: The Honorable Autumn D. Spaeth, United States Magistrate Judge


              Kristee Hopkins                                 None Reported
               Deputy Clerk                              Court Reporter / Recorder

    Attorney(s) Present for Plaintiff(s):          Attorney(s) Present for Defendant(s):
              None Present                                     None Present

Proceedings:          (IN CHAMBERS) ORDER TO SHOW CAUSE WHY CASE
                      SHOULD NOT BE DISMISSED FOR FAILURE TO
                      PROSECUTE AND OBEY COURT ORDERS

        Plaintiff Ricardo Rubio filed a Complaint asserting numerous federal and state
civil rights violations on September 18, 2020. (Dkt. No. 1.) The Court issued an order
dismissing the Complaint with leave to amend, which required a response by no later
than October 1, 2021. (Dkt. No. 13.) As of the date of this order, Plaintiff has failed to
file a response.

         Plaintiff is ordered to show cause why this case should not be dismissed for
failure to prosecute and obey court orders. Plaintiff must file a written response
by no later than November 15, 2021. Plaintiff may respond to this order by
(a) filing a first amended complaint; (b) filing a notice of voluntarily dismissal; or
(c) filing a statement with the Court indicating the desire to move forward with the
Complaint despite the weaknesses noted by the Court in its prior order.

      Plaintiff is expressly warned that failure to timely file a response to
this order may result in a recommendation to the District Judge that this
action be dismissed without prejudice for failure to prosecute and obey
Court orders pursuant to Federal Rule of Civil Procedure 41(b).

       IT IS SO ORDERED.

                                                                     Initials of Clerk kh

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